Case 1:97-cr-00082-PLM       ECF No. 1371, PageID.1454          Filed 07/13/15     Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION



UNITED STATES OF AMERICA,

              Plaintiff,
                                                        CASE NO. 1:97-CR-82
v.
                                                        HON. ROBERT HOLMES BELL
DARRYL FORD,

              Defendant.
                                    /


                      MEMORANDUM OPINION AND ORDER

       This matter is before the Court on defendant’s Motion for Modification or Reduction

of Sentence Pursuant to 18 U.S.C. §3582(c)(2) (ECF No. 1259). Based on a review of

defendant’s motion, the original criminal file, the Report of Eligibility prepared by the

Probation Department, and the response thereto by the defendant, the Court has determined

that the motion should be denied for the following reason(s):

       Defendant was sentenced on April 29, 1998. At sentencing, the Court found that

defendant was involved in at least 1.5 kilograms of cocaine base.

       The retroactive amendment 750 changed the amount of cocaine base required for

the highest amount of the drug from 4.5 kilograms to 8.4 kilograms cocaine base. The

drug amount involved in this case was still clearly assigned the level 38. Since

Amendment 750 did not result in a lower guideline range, defendant is not eligible for a
Case 1:97-cr-00082-PLM    ECF No. 1371, PageID.1455      Filed 07/13/15     Page 2 of 2




sentence reduction under 18 U.S.C. §3582(c)(2) and USSG §1B1.10(a)(2)(B).

      ACCORDINGLY, defendant’s motion (ECF No. 1259) is DENIED.



Date: July 13, 2015                          /s/ Robert Holmes Bell
                                             ROBERT HOLMES BELL
                                             UNITED STATES DISTRICT JUDGE
